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   ELIZABETH SINES,SETH WIjPELWEY,
   M A ltlssA BLA IR ,APRIL M UN Iz,
   M AR CU S M ARTlN ,N A TALIE ROM ER O ,
   CHELSEA ALVARADO,Jobm DoE,and
   TH OM A S BA KER ,

                              Plaintiffs            C ivilAction No.3:17-cv-00072-NK M

   V.
   JA SON K ESSLER ,eta1.,

                              Defendants.


                              O RD ER SEA LING E XH IBITS T O
                     PLAINTIFFS'M OTION %'O COM PEL DISCOVERY
                             FR O M D EFEN D AN T JEFF SCH O EP

         W HEREA S,on M arch 27,2020,Plaintiffs filed a M otion to CompelDiscovery from

   DefendantJeffSchoep (theçsMotiola''l,ECFNo.689,anddidnotpublicly fileExhibitsA,B,and
   C to theM otion becausethey were designated asHighly Confidentialby theproducing partiesor

   contain Highly ContidentialInformation asdefinedby theOrderfortheProduction ofDocuments

   and Exchange ofConfidentiallnfonuation dated January 3,2018,ECF No.167,

         W HEREA S,Plaintiffshave provided tmredacted copiesofExhibitsA,B,and C and the

   M otion to the Courtand m oved,pursuantto LocalRule9,forthose exhibitsto besealed,

         IT IS HEREBY ORDERED thatthemotionto seal,ECF No.690,isGRANTED,and the

   Clerk isdirected to file ExhibitsA,B,and C to theM otion,ECF No.689,undersealed plzrsuant

   to LocalRule 9.
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   SO ORDERED .



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